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                                                                        UNITED STATES DISTRICT COURT
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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                   7   DIANA ELLIS, et al.,                               Case No.: 12-cv-03897- YGR
                                   8                Plaintiffs,                           ORDER DENYING PLAINTIFFS’ REQUEST TO
                                   9                                                      FILE RENEWED MOTION FOR CLASS
                                              vs.                                         CERTIFICATION
                                  10
                                       J.P. MORGAN CHASE & CO., et al.,
                                  11
                                                     Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          On December 17, 2015 the Court denied Plaintiffs’1 motion for class certification, finding
                                  14   Plaintiffs failed to make a threshold showing of commonality under Rule 23(a)(2). (Dkt. No.
                                  15   224.) Plaintiffs now request the Court allow them leave to file a renewed motion for class
                                  16   certification as set forth by Plaintiffs in the parties’ updated joint case management statement
                                  17   (Dkt. No. 229) and orally on the record at the January 25, 2016 case management conference (Dkt.
                                  18   No. 235). Defendants, naturally, oppose. (See Dkt. Nos. 229, 235.)
                                  19          The decision whether to grant Plaintiffs leave is within the sound discretion of the Court.
                                  20   Dukes v. Wal-Mart Stores, Inc., 2012 WL 4329009, at *4 (N.D.Cal. Sept. 21, 2012) (“district
                                  21   courts have ample discretion to consider (or decline to consider) a revised class certification
                                  22   motion after an initial denial”) (internal quotations omitted). “Repeat motions for class
                                  23   certification are not routinely allowed.” Lanovaz v. Twinings North America, Inc., 2014 WL
                                  24   7204757, at *1 (N.D.Cal. Dec. 17, 2014) (alterations to capitalization). The Court has reviewed
                                  25   the pleadings and record in this matter and finds that granting Plaintiffs’ request would not be
                                  26   appropriate under the circumstances. Plaintiffs have provided no justification for their belated
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                                  28             All terms shall have the same meaning as defined in the Court’s order denying class
                                       certification. (Dkt. No. 224.)
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                                   1   attempt to seek certification of narrower classes to proceed on refashioned theories of liability.

                                   2   Rather, the only changed circumstance is that Plaintiffs now have the benefit of the Court’s order

                                   3   denying their earlier motion. Plaintiffs could have raised this alternative class definition in their

                                   4   original motion, but instead chose to seek certification of a much broader class based on a blanket

                                   5   theory of wrongdoing. Indeed, Plaintiffs’ claims have transformed repeatedly and significantly

                                   6   since the initial complaint was filed. Notwithstanding the foregoing, the Court has considered the

                                   7   proffer in light of the evidence previously submitted and finds the request futile. Thus, the Court

                                   8   declines to provide yet another opportunity for Plaintiffs to litigate the latest incarnation of the

                                   9   theory of their case. Plaintiffs’ request is DENIED.

                                  10          In light of the Court’s ruling, the parties shall meet and confer with respect to Defendants’

                                  11   request to file a motion for summary judgment. The parties shall file a stipulated briefing

                                  12   schedule on Defendants’ proposed motion no later than February 16, 2016.
Northern District of California
 United States District Court




                                  13          IT IS SO ORDERED.

                                  14   Dated: February 9, 2016

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                                  16                                                             YVONNE GONZALEZ ROGERS
                                                                                            UNITED STATES DISTRICT COURT JUDGE
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